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                             LINITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION                                /
                                                                              FI L Et)
                                                                                ocT     -I   2019
STATE OF ILLINOIS,
                                                                              THOMASG. BRI-,TON
                                                                        cLERK U.S. DISTRICT COURT
                Plaintiff,

                v.                                    Case   No. l7-cv-6260
CITY OF CHICAGO
                Defendant



                             MOTION ON THE BEHALF OF CHICAGO


        NOW COMES, the Petitioner MARTIN PREIB,pro se and.on his own, and brings this

Motion to Intervene and states the following:

   1.   Petitioner is filing this pro se motion to intervene in the lawsuit between Attorney

        General Lisa Madigan and the City of Chicago, claiming that Department of Justice

        investigation upon which the lawsuit is predicated is flawed, biased, and comrpt in that

        the federal investigators refused to take into account a broad collection of evidence

        undermining the central claims against the Chicago Police Department. petitioner also

        seeks to intervene because both parties in the lawsuit intentionally ignored the same body

        of evidence in agreeing to a consent decree and in negotiating its substance.

   2.   Petitioner is a Chicago Police Officer and has been for the previous 17 years having a

        date of appointment to the City of Chicago Department of Police of    29 July 2002.

   3. Petitioner has standing to be heard before this Court as he is an active Chicago police
        Officer and effected party by the imposition of the Consent Decree entered by this Court.
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 4.    On August 29,2017, the State of   Illinois by Lisa Madigan, Attorney General of the State

       of Illinois, filed a Complaint against the City pursuant to 42 U.S.C. g 19g3; the U.S.

       Constitution; the Illinois Constitution; the Illinois Civil Rights Act of 2003,740ILCS

       2315; andthe   Illinois Human Rights AII,775ILCS 5/5-r0z(c) (..the complaint,,or the

       'oState's Complaint").

  5.   The complaint alleged that the chicago Police Department ("cpD',) violates the

       Constitution and state and federal laws of its citizens by engaging in a pattern of using

       excessive force, including deadly force, in a manner that disproportionately harms

       Chicago's African American and Latino residents. The Complaint sought to address

       allegations that CPD engages in a pattern and practice of civil rights violations and

       unconstitutional policing and address recorrmendations and conclusions set forth by the

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       #:5001 2 Department of Justice ("DOJ Report") and the Police Accountability Task Force

       convened by Mayor Rahm Emanuel ("PATF Report,').

 6.    These complains arose from an investigation conducted by the Department of Justice

       Civil Rights Division, The factual basis of the complaint and the eventual entry of the

       Consent Decree all emanates from the DOJ Report. The DOJ Report under the previous

       Department of Justice makes sweeping and unsupported allegations regarding the

       conduct of the members of the Chicago Police Department and CpD as a whole.


 7.    The DOJ investigation was widely criticized. Former Attorney General Jeff Sessions

       called it "anecdotal" and "unscientific" as such the current Department of Justice

       declined to pursue a consent decree. Others argued that it was politically motivated, as
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       evidenced by the fact that the DOJ rushed to finish it before President Trump
                                                                                     was sworn

       in.

  8.   The allegations and conclusions in the DOJ Report and the PTAF Report
                                                                             have never been

       challenged or tested in a court of law, but have been accepted by this Court
                                                                                    and others as

       factually correct. It is clear that if factual allegations were to be put through a rigorous,

       thorough and considered court proceeding that many of the conclusions would
                                                                                   be found

       to be faulty, questionable and self-evidently wrong.

 9_    The defendant, City of Chicago, never litigated these issues or attempted to challenge
                                                                                              the

       sufficiency of the DOJ Report or the PTAF Report and instead just accepted the

       conclusions for unknown reasons without comment.

 10. Throughout the period       of the aforementioned reports and prior to this Court signing the

       Consent Decree, petitioner attempted to confront the Department of Justice, the media,

       and the   City of Chicago about the evidence contradicting the claims that the Chicago

       Police Department "engages in a pattem and practice of civil rights violations and

       unconstitutional policing." Indeed, petitioner has gathered and submitted evidence

       pointing to a pattern and practice of false allegations against the police that have

       destroyed the careers and reputations of officers, freed actual criminals and then made

       them wealthy through civil lawsuits. The Petitioner's attempts have fallen on deaf ears

       and   it is the position of the Petitioner, that if this Court had been given the opportunity to

       test and challenge the reports, it too would have had many questions regarding the

       propriety of such an overreaching document by which the Chicago Police Officers are to

       be governed.
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 11. Petitioner has special insight to make these arguments. As an award-winning writer,

       Petitioner has written two books spelling out the comrption that lies at the heart of false

       police misconduct allegations in the city alleging that the police violate the constitutional

       rights of citizens.

 12. Petitioner's work played a central role in undermining the key     wrongful conviction case

       in the state's history, the exoneration of Anthony Porter in1999. Petitioner's efforts led to

       overturning of the conviction of Alstory Simon, who replaced Porter in prison for a 1982

       double murder and revealed evidence of comrption at Northwestem University and false

       allegations against the police. Indeed, when Simon was released from prison, the Cook

       County State's Attorney said that former Northwestern professor David Protess and his

       investigator violated the constitutional rights of Simon in a "coercive" effort to get Simon

       to confess to the murders.

 13. Petitioners work in this case led to the publication of a book, Crooked    City, which

       detailed the evidence of comrption at Northwestern in that case and the publication of a

       blog by the same name detailing evidence of corruption in that case and many others.

       Petitioner has alleged for several years a pattem and practice of false allegations against

       the police.

 14. Upon his release from prison, Simon's attorneys     filed a lawsuit claiming   a pattern and

       practice of comrption against Northwestem. The case was settled in this courtroom.

 15.   At the announcement by the Department of Justice to investigate the Chicago Police

       Department, Petitioner delivered a letter to the DOJ outlining his claims of a pattern and

       practice of comrption based upon false claims of civil rights violations against police

       officers. DOJ investigators never responded to petitioner.
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  16. In the meantime, Petitioner's research and        writing about police misconduct led to his

     election as the Second Vice President of the Fraternal Order of police (..FOp,,)
                                                                                      the

     bargaining unit for all Chicago Police Officers. His job assignment was investigating
                                                                                           and

     writing about comrption in the allegations of police misconduct, confronting the media

     with the evidence and persuading public officials to take this evidence into consideration.

  17' While serving as Second Vice President, state Attomey General Lisa
                                                                         Madigan used the

     DOJ investigation to file a lawsuit against the City of Chicago and begin the creation
                                                                                            of a
     Consent Decree. As stated above, instead of challenging the complaint and the
                                                                                   factual

     basis by which   it   asserts   itself the City of Chicago,   cooperated. Numerous times the

     Petitioner submitted evidence of wrongdoing in the wrongful conviction movement to

     both Madigan's office and Mayor Rahm Emanuel. Not once did representatives from

     either governmental entity address this evidence, even though it categorically rejected
                                                                                             the

    DOJ investigation and its conclusions.

 18. Petitioner is aware that the FOP did attempt to intervene and was rebutted
                                                                                by both this

    Court and the Seventh Circuit Court of Appeals. Petitioner understands and respect both

    of these Court's ruling. However, and while not being a licensed attorney, petition

    believes that the Seventh Circuit Court of Appeal's decision did clearly state that

    intervention by a third party could be required in the future. Specifically, the Seventh

    Circuit Court of Appeals recognized this Court's scholarly and insightful words when it

    stated that "There is one        final matter worth discussing. The district court assured the

    Lodge that, *if the assumptions about the future-course of this litigation described above

    should turn out to be radically incorrect, nothing in the rules or the case law of which this

    court is awiue would prevent re-examination of the matter of intervention. (citing to this
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     Court's decision at 2018 WL 3920816) That is correct. The Lodge's allegations of

     prejudice are presently speculative, and the other factors counsel against intervention.
                                                                                              But
     if the Lodge's fears are substantiated, the balance of interests will shift.,, It is petitioner,s

     opinion that "the balance of interests,, has shifted.

  19. Indeed, at the very time the   city of chicago under Mayor Rahm Emanuel          was

     cooperating in the consent decree, attorneys working for the city were fighting the federal

     civil lawsuit brought by Stanley Wrice, whose conviction for a 1982 rape and severe

     burning of a woman had been reversed on the claim that he was coerced into confessing.

     Cook County State Judge Thomas Byrne rejected a certificate of innocence for Wrice,

     saying he believed he participated in the crime.

 20. Nevertheless, Wrice filed a federal lawsuit against the city. The attorney for the city

     subpoenaed the vast body of evidence obtained in the Alstory Simon lawsuit alleging

     misconduct against Northwestern as part of a defense strategy, including the evidence

     that sfudents were used to sexually bait witnesses into recanting their witness statements.

 21. Once again, while the attorneys for the city in the Wrice case were pursuing this body        of
     evidence, the City was also working with      Illinois Attorney General Madigan about the

     consent decree based upon a completely different na:rative. In essence, the City        of
     Chicago was arguing that there has been a pattern and practice of deception by wrongful

     conviction defendants in one federal court room and then admitting before this Court that

    there is a pattern and practice by the Chicago Police to violate citizen's      rights. It appears

    that the   city of chicago   is taking different positions on the same issue.

 22.Then, in the last two months, attorneys for the city filed motions in two more cases citing

    evidence that   fully supports Petitioner,s above claims.
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 23. Armando Serrano's conviction for murder was reversed on the claim that retired

     Detective Reynaldo Guevara coerced a witness to falsely name Serrano as the offender.

     Attorneys for the city have filed a motion alleging the exact same misconduct in this case

     as Petitioner has alleged   in other cases. The city attorneys filed for sanctions against

     Serrano and his agents, faculty at Northwestern University, alleging that Serrano and his

     agents hid or intentionally destroyed evidence that would aid the accused detectives         in
     defending themselves. They also alleged attempted bribes of witnesses by Northwestern,

     an accusation that has arisen time and time again in wrongful conviction claims.

 24. Attorneys also filed a motion in the case of Tyrone Hood v City of Chicago in which they

     seek to depose former Governor Pat Quinn and a reporter for the      New Yorker Magazine,

    Nicholas Schmidle. In their motion, the attorneys allege that Schmidle crossed the line            of
    joumalism into advocacy in his article claiming Hood was the victim of police coercion.

    They also allege that Quinn used Schmidle's article as justification for commutating

    Hood's sentence with no new evidence of innocence.

 25. These claims mirror exactly those alleged by Petitioner, who has alleged a collusion

    among the media, elected officials and     civil rights law firms to reverse convictions that

    should not have been reversed.

 26. Petitioner has.every right to intervene in this lawsuit. The City of Chicago is now alleging

    two contradictory theories about the constitutional policing in the federal courts. With

    these new motions   filed by the city in the Tyrone Hood and Armando Serrano cases,

    Petitioner as a police officer, FOP member, and FOP Board Member has the right to

    intervene in this lawsuit and confront the city, Attorney General, the Department      of
    Justice and the Special Monitor for their refusal to allow highly relevant evidence
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       contradicting the investigation and lawsuit that created the consent decree, evidence that

       the city itself names in federal civil rights cases. It is most respectfully the exact sort   of
       new information that this Court did not have when your honor approved the Consent

       Decree. It is exactly the "assumptions about the future_course of this litigation,, that

       "should turn out to be radically incorrect" which this Court and the Seventh Circuit Court

       of Appeals contemplated to allow for future intervention.



   WHEREFORE, the Petitioner MARTIN PREIB,pro se and.on his own, respectfully requests

that this court allow him to intervene and be a party to this matter.




                                              Respectfu   lly submitted,

                                               [Vh?rwl
                                              Martin Preib



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